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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF ARKANSAS
                              CENTRAL DIVISION

TETRONICS (INTERNATIONAL)
LIMITED- In Liquidation,

                Plaintiff,
vs.
                                            Case No. 4:22-cv-365-KGB
PINNACLE MOUNTAIN HOLDING
COMPANY IV LLC.

                Defendant.


      DEFENDANT’S STATEMENT OF UNDISPUTED MATERIAL FACTS

       In Support of its Motion for Summary Judgment, the Defendant, Pinnacle

Mountain Holding Company IV LLC (“PMHC” or “Defendant”), submits pursuant to

Local Rule 56.1 that there are no genuine disputes to be tried on the following

material facts:

       1.       PMHC was a special purpose entity formed in March of 2014 for the

purpose of holding the Arkansas Teacher Retirement Systems’ (“ATRS”) investment

interest in BlueOak Arkansas, LLC (“BlueOak”). See Affidavit of Rod Graves,

attached to PMHC’s Motion as Exhibit 1, at ¶ 2. PMHC was a member of BlueOak.

Id.

       2.       On January 6, 2016, PMHC and BlueOak entered into a Line of Credit

Promissory Note pursuant to which PMHC agreed to advance up to $3,575,000 to

BlueOak and, in exchange, BlueOak promised to repay PMHC any advanced funds,

plus interest at a rate of 10% per annum, by June 30, 2018. The maturity date on the
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Line of Credit Promissory Note was extended to June 30, 2019 pursuant to a Line of

Credit Promissory Note Amendment dated June 6, 2018. Graves Aff. ¶¶ 8-10.

       3.       True and correct copies of the Line of Credit Promissory Note and the

amendment thereto are attached as Exhibit 1 to the Graves Affidavit and

hereinafter referred to together as the “LOC.” Id. ¶ 10.

       4.       Between January 6, 2016 and July 27, 2017, BlueOak made five (5)

draws against the LOC totaling $3.9M, all of which were honored by PMHC with

funds being advanced by ATRS at the direction of PMHC. Id. ¶ 11.

       5.       The following is an account of BlueOak’s draws against the LOC and the

dates and amounts of funds advanced to BlueOak:

             a) January 6, 2016:   $650,000;

             b) June 16, 2016:     $1,250,000;

             c) January 13, 2017: $1,000,000;

             d) May 4, 2017:       $1,000,000; and

             e) July 28, 2017:     $1,000,000.

Id. ¶ 13.

       6.       BlueOak made the following six (6) payments towards principle and/or

interest owed in relation the funds advanced to BlueOak by PMHC pursuant to the

LOC:

             a) February 23, 2016: $658,666.67 (comprised of $650,000 towards
                principle and $8,666.67 towards interest accrued through 02/23/16);

             b) July 8, 2016: $1,257,638.89 (comprised of $1,250,000 towards principle
                and $7,638.89 towards interest);
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             c) June 1, 2017: $46,388.89 (payment towards interest only on draws
                taken 01/13/2017 and 04/04/2017);

             d) December 1, 2017: $136,666.67 (payment towards interest only);

             e) April 24, 2018: $2,120,000 ($2,000,000 towards the principle balance
                due on the LOC and the remainder towards interest accrued through
                04/24/2018); and

             f) June 1, 2018: $10,555.56 (payment towards interest accrued from
                04/24/2018 through 06/01/2018).
Id. ¶ 13.

       7.       All payments accepted by or on behalf of ATRS and/or PMHC from

BlueOak were accepted in good faith and without notice of any actual intent on the

part of BlueOak to hinder, delay or defraud Tetronics. Id. ¶ 14.

       8.       All payments or transfers described in Paragraph 6 above were made

directly from a BlueOak bank account and wired to a bank account of ATRS. Id. ¶ 15.

       9.       At the time of the last two (2) transfers described in Paragraph 6 above

and made by BlueOak on April 24, 2018 and June 1, 2018, BlueOak’s real and

personal property was encumbered by valid security agreements granting various

lenders blanket security interests and mortgages to foreclose on all real and personal

property of BlueOak. See Affidavit of Ahab Garas, attached to PMHC’s Motion as

Exhibit 2, at ¶¶ 2-6.

       10.      On December 28, 2020, ATRS received a wire transfer from BlueOak

Arkansas Development, LLC in the amount of $667,142.96. Graves Aff. at ¶ 16. See

also Garas Aff. at ¶ 9.
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      11.    BlueOak Arkansas Development, LLC was a separate and distinct

entity from BlueOak, maintained separate bank accounts, and had separate

capitalization structures. Graves Aff. at ¶ 17; Garas Affidavit at ¶ 8.

      12.    The funds transferred by BlueOak Arkansas Development, LLC to

ATRS on December 28, 2020 were not assets or property of BlueOak and said transfer

was not one made by BlueOak. Graves Aff. at ¶ 18; Garas Affidavit at ¶ 10.



                                 Respectfully submitted,


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